               IN THE COURT OF APPEALS OF NORTH CAROLINA

                           [do not modify or remove this line]

                              Nos. COA21-140, COA21-141

                        Filed: [do not modify or remove this line]

Cabarrus County, 20 CVD 2006, 20 CVD 2007

D.C., and J.M., Guardian Ad Litem for minor child D.C., Plaintiff,

              v.

D.C., Defendant.




E.C., and J.M., Guardian Ad Litem for minor child E.C., Plaintiff,


v.


D.C., Defendant.


        Appeals by Plaintiffs from orders entered 23 September 2020 by Judge S. A.

Grossman in Cabarrus County District Court. By order entered 12 March 2021 this

Court allowed cases COA21-140 and COA21-141 to be consolidated for purposes of

hearing only.      This Court now orders that COA21-140 and COA21-141 be

consolidated for decision in this opinion. Heard in the Court of Appeals 10 August

2021.


        Hartsell &amp; Williams, P.A., by Austin “Dutch” Entwistle III, for plaintiffs-
        appellants.

        No appellee brief filed.
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                                                 Opinion of the Court



             MURPHY, Judge.


¶1           When a trial court sits without a jury in a hearing regarding a motion for a

     domestic violence protection order under Chapter 50B of our General Statutes, Rule

     52(a)(1) of the North Carolina Rules of Civil Procedure requires the trial court to

     make findings of fact, as well as separately state its conclusions of law based on those

     findings of fact. After making the required findings of fact and conclusions of law,

     the trial court “shall” direct the entry of the appropriate judgment.

¶2           Here, after a consolidated hearing without a jury, the trial court failed to make

     any findings of fact in its orders denying Plaintiffs’ motions for domestic violence

     protective orders against Defendant. We vacate the trial court’s orders in this matter

     and remand for the entry of findings of fact by the trial court, followed by appropriate

     conclusions of law.

                                                 BACKGROUND

¶3           Plaintiffs D.C.1 and E.C., who are minors, each filed a Complaint and Motion

     for Domestic Violence Protective Order against their biological father’s wife,

     Defendant D.C., on 16 July 2020. The hearing regarding whether to grant a Domestic

     Violence Protective Order (“DVPO”) was consolidated. At the time of the hearing, a




             1 Abbreviations are used for all relevant persons throughout this opinion to protect the identity

     of the juveniles and for ease of reading.

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                                         Opinion of the Court



     Chapter 50 custody dispute was ongoing between Plaintiffs’ biological mother, J.M.,

     and Plaintiffs’ biological father, D.C.

¶4         In their nearly identical Complaints, Plaintiffs alleged:

                  [Defendant] has repeatedly gotten right in [Plaintiffs’]
                  face[s] screaming as loud as she can as [to] how she wants
                  to knock [Plaintiffs’] teeth out or otherwise do bodily harm
                  to [Plaintiffs]. [Plaintiffs] have witnessed [Defendant] hit
                  [Plaintiffs’ biological father] and also hit her grandson [].
                  The most recent time [Defendant] got in [Plaintiffs’] face[s]
                  yelling and threatening [them] was on or about [8 July
                  2020]. [Plaintiffs are] afraid for [their] safety and in fear
                  of continued harassment such that [they are] suffering
                  substantial emotional distress and don’t want [Defendant]
                  to be around [them] at all anymore. Besides [] witnessing
                  [Defendant] actually hitting or otherwise physically
                  attacking [their biological father] and her grandson,
                  [Defendant] has destroyed property in fits of rage at least
                  in part to intimidate [Plaintiffs].         [Defendant] has
                  repeatedly acted [to invoke fear in Plaintiffs] and it has
                  been successful.       [Plaintiffs are] in fear for [their]
                  [lives]from [Defendant].

¶5         The trial court granted an Ex Parte Domestic Violence Order of Protection for

     each Plaintiff on 17 July 2020 (“Ex Parte Orders”), which prohibited Defendant from

     contact with Plaintiffs. The Ex Parte Orders were continued to the date of the

     hearing.

¶6         At the hearing regarding Plaintiffs’ DVPO motions on 23 September 2020,

     Plaintiffs separately testified as follows: Defendant gets up close and in their faces,

     threatens physical assault, and scares them; Defendant threatened to knock one



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                                              Opinion of the Court



     Plaintiff’s teeth out; Plaintiffs believe Defendant would actually physically harm

     them; and they believe Defendant would continue her behavior if Plaintiffs returned

     to her home. Defendant did not present any evidence.

¶7          The trial court used the DVPO form provided by the Administrative Office of

     the Courts, AOC-CV-306, which provides multiple locations for the trial judge to

     include preprinted and freeform findings of fact, to enter its orders. At the conclusion

     of the bench hearing on Plaintiffs’ motions for a DVPO, the trial court entered its

     orders on the form entitled Domestic Violence Order of Protection for each plaintiff on

     23 September 2020 (“Orders”). In the Orders, the trial court did not make any

     findings of fact other than who was present at the hearing, concluded that each

     Plaintiff “failed to prove grounds for issuance of a [DVPO],” and dismissed the action,

     declaring “any ex parte order issued in this case [] null and void.”

¶8          After the parties rested at the hearing, the trial court made the following

     comments in open court2:


            2 Plaintiffs raise concerns in their briefs suggesting that the trial court misapprehended the

     law. We note that on the cold record the trial court’s statements could be interpreted as a
     misapprehension or misapplication of the law. However, due to our resolution of this appeal, we need
     not address this issue and believe it is quite possible that the comments were made in a conversational
     style in order to politely engage with the litigants and were not an expression of any misconceptions
     that the trial court may have had. In order to fully dispel any concerns upon remand, we provide the
     following observations. First, Chapter 50 and Chapter 50B actions are not mutually exclusive. See
     N.C.G.S. § 50B-7(a) (2019) (emphasis added) (“The remedies provided by [Chapter 50B] are not
     exclusive but are additional to remedies provided under Chapter 50 and elsewhere in the General
     Statutes.”). Second, if a trial court determines that an act qualifying as domestic violence occurred,
     the trial court is required to issue a DVPO. See N.C.G.S. § 50B-3(a) (2019) (emphasis added) (“If the



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                                                Opinion of the Court



                       Honestly, [Defendant’s] conduct is not conducive to
                       working these things out as [they] need to be worked out
                       for the benefit of [Plaintiffs]. I suspect [Defendant] now
                       realizes that, but I think this is a Chapter 50 [custody
                       dispute] case, [Plaintiffs’ counsel]. This is not a Chapter
                       [50B domestic violence] case. There’s -- if it were [a
                       Chapter 50B case], virtually every parent ever would be in
                       the courtroom.

                       What I heard from [Plaintiffs], and I commend you for
                       taking your feelings and trying to do the right thing, I don’t
                       think this is the right thing. I appreciate that you’re
                       looking out after yourselves, both of you young people, but
                       this is a situation where a parent, and [Defendant] is in a
                       position of a parent, has been somewhat out of control, but
                       I don’t see that this is much different than what at least 50
                       percent of all parents have done, stupidly, but this is [a]
                       Chapter 50 action. I’m going to deny the orders in all cases.

¶9            Both Plaintiffs timely appealed. In this consolidated appeal,3 Plaintiffs argue

       each “Order is [facially] defective as the trial court made no findings of fact.”

       Plaintiffs also argue the trial court’s “comments . . . at the hearing reveal that [its]

       basis for denying [Plaintiffs’] claims ha[d] no basis in law or fact.”

                                                   ANALYSIS

¶ 10          Typically, “[w]hen the trial court sits without a jury regarding a DVPO, the

       standard of review on appeal is whether there was competent evidence to support the

       trial court’s findings of fact and whether its conclusions of law were proper in light of


       [trial] court . . . finds that an act of domestic violence has occurred, the [trial] court shall grant a
       [DVPO] restraining the defendant from further acts of domestic violence.”).
                3 Although Plaintiffs pursued two separate appeals, COA21-140 and COA21-141, given the

       similarity of the facts and issues, and for purposes of judicial economy, we consolidate the appeals.

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                                           Opinion of the Court



       such facts.” Kennedy v. Morgan, 221 N.C. App. 219, 220-21, 726 S.E.2d 193, 195
       (2012). However, Rule 52(a)(1) of the North Carolina Rules of Civil Procedure

       requires, “[i]n all actions tried upon the facts without a jury or with an advisory jury,

       the [trial] court shall find the facts specially and state separately its conclusions of

       law thereon and direct the entry of the appropriate judgment.” N.C.G.S. § 1A-1, Rule

       52(a)(1) (2019).

¶ 11         Our Supreme Court has interpreted this requirement as follows:

                    Where, as here, the trial court sits without a jury, the judge
                    is required to find the facts specially and state separately
                    its conclusions of law thereon and direct the entry of the
                    appropriate judgment. The purpose of the requirement
                    that the [trial] court make findings of those specific facts
                    which support its ultimate disposition of the case is to
                    allow a reviewing court to determine from the record
                    whether the judgment – and the legal conclusions which
                    underlie it – represent a correct application of the law. The
                    requirement for appropriately detailed findings is thus not
                    a mere formality or a rule of empty ritual; it is designed
                    instead to dispose of the issues raised by the pleadings and
                    to allow the appellate courts to perform their proper
                    function in the judicial system.

                    ....

                    In the absence of such findings, this Court has no means of
                    determining whether the order is adequately supported by
                    competent evidence. It is not enough that there may be
                    evidence in the record sufficient to support findings which
                    could have been made. The trial court must itself
                    determine what pertinent facts are actually established by
                    the evidence before it, and it is not for an appellate court to
                    determine de novo the weight and credibility to be given to


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                                           Opinion of the Court



                   evidence disclosed by the record on appeal.

                   ....

                   Our decision to remand this case for further evidentiary
                   findings is not the result of an obeisance to mere
                   technicality. Effective appellate review of an order entered
                   by a trial court sitting without a jury is largely dependent
                   upon the specificity by which the order’s rationale is
                   articulated. Evidence must support findings; findings
                   must support conclusions; conclusions must support the
                   judgment. Each step of the progression must be taken by
                   the trial judge, in logical sequence; each link in the chain
                   of reasoning must appear in the order itself. Where there
                   is a gap, it cannot be determined on appeal whether the
                   trial court correctly exercised its function to find the facts
                   and apply the law thereto.

       Coble v. Coble, 300 N.C. 708, 712-14, 268 S.E.2d 185, 188-90 (1980) (emphases added

       and original emphases omitted) (marks and citations omitted).

¶ 12         Here, the trial court failed to make any findings of fact, much less specific

       findings, in the Orders. It was required to enter findings of fact supporting its

       conclusions of law that each Plaintiff “failed to prove grounds for issuance of a

       [DVPO].”   Such a failure to make findings of fact prevents us from conducting

       meaningful appellate review, and we must vacate the Orders and remand to the trial

       court for the entry of orders that comply with the North Carolina Rules of Civil

       Procedure and our caselaw.

                                           CONCLUSION

¶ 13         The importance of the policy behind the rule in Coble is clear here, where the


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                                   Opinion of the Court



trial court included no findings of fact in the Orders denying Plaintiffs’ motions for

DVPOs. We vacate the Orders due to the failure to make findings of fact, and we

remand for entry of new orders that include findings of fact and conclusions of law

based on those findings.

      VACATED AND REMANDED.

      Judges ARROWOOD and GRIFFIN concur.




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